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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                8:16CR63

      vs.
                                                                ORDER
MONICA GOMEZ,

                    Defendant.


      This matter is before the Court on defendant Monica Gomez’s (“Gomez”) Motion
to Extend Report Date (Filing No. 168). Gomez’s original report date was January 4,
2018. Due to her husband’s death, Gomez requests additional time to put in order her
family affairs including arranging for the care of her minor son. The government does
not oppose this request. Accordingly,

      IT IS ORDERED:
      1.     Gomez’s Motion to Extend Report Date is granted.
      2.     Gomez shall surrender for service of sentence at the institution designated
             by the Bureau of Prisons on February 1, 2018, by 2 p.m.


      Dated this 19th day of December, 2017.

                                               BY THE COURT:



                                               Robert F. Rossiter, Jr.
                                               United States District Judge
